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                           Exhibit 36
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              From:       Eisar Lipkovitz <eisar@google.com>
              To:         Aparna Pappu <apappu@google.com>
              Sent:       Tue, 13 Dec 2016 18:10:38 -0800
              Subject:    Re: more optional reading

              Let's discuss live the 3pas during AMP review

              Eisar

              On Dec 13, 2016 6:08 PM, "Aparna Pappu" <apappu(c,~googk.com> wrote:

                let me rephrase to clarify - there are benefits to the user which are key and then we need to
                figure out how to translate those to the publisher.
                the rest is best f2f or over IM given content

              On Tue, Dec 13, 2016 at 8:58 PM, Aparna Pappu <apappu(a;google.com> wrote:

                 basically this only benefits google and the user and because it benefits the user we can argue
                 it benefits the pub. btw I still have not heard from JB about this so not sure where he stands.
                 this may come to a head on thursday as a first example of trying this out when the team
                 comes to you and paul for VP review on our AMP strategy. A4A by default only works on
                 2P AS - which I really like - however to broaden adoption team would like to push for 3PAS
                 support in some form (kleber gets the tradeoffs) - I'd like us to be creative and or first start
                 with just 2PAS rather than caving and going 3PAS on day 1

              On Tue, Dec 13, 2016 at 8:35 PM, Eisar Lipkovitz <cisar((D2:uoglc.com> wrote:

                  I like it, but we need to make sure when pitching it widely, especially Sridhar this is
                  explained as part of a bigger strategy that benefit Google or the User and not just stuff the
                  pub wants.

              On Tue, Dec 13, 2016 at 10:02 AM, Aparna Pappu <apappu(,Dgoogle ...:om> wrote:


              On Tue, Dec 13, 2016 at 11 :39 AM, Eisar Lipkovitz <eisar(u;g00gle.com> wrote:

                      I like it, sounds clever but I have to wonder why we didn't do it before, there ought be
                      some resistent.

                      mostly because there are lots of other 3rd party advertiser adservers beyond DCM and
                      imposing DCM on the pubs could cause friction - video pubs may prefer someone else due
                      to feature gaps etc - so I think a whole set of vendors developed in this space. Requiring
                      that to now be google will face a lot of resistance esp if DCM is not at parity with
                      whatever crazy feature they want for e.g. the native ads folks YieldMo - DFP pubs will
                      3PAS to YieldMo - so there is going to be resistance to this.




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                      If I understand correctly your key point is that you want to decouple the Ad Decisioning
                      from "creative serving", the same way to are now tearing DCM apart through cronut.

                   yes. exactly.


                      I like the pitch to pub that doing so, will ensure consistency in creative serving and
                      measurement/billing. But to be clear you still would allow for other (than Goolge) buyers,
                      like reservations and some sort of mediation, right?

                   absolutely - which is why I say we need to allow for DCM accounts for CRTO and FAN
                   etc so that non Google advertisers and networks can also serve creatives it' s just that if
                   you want to serve on DFP it has to come from DCM and we give you a free account.


                      On Tue, Dec 13, 2016 at 6:54 AM, Apama Pappu <apappufri)gocwk.com> wrote:

                      spent a bunch of time thinking about ifwe were to do DRX today how would it be
                      different and wrote it down
                      it simplifies things a whole lot of if we disallow 3PAS and replace it with free advertiser
                      accounts for DFP advertisers with DCM. Not only does it reduce the size of the DFP
                      footprint in terms of eng resources that have to solve problems like malware, creative
                      classification etc because of 3P AS but it also addresses business concerns.

              It's very much a strawman - shared with JB and Jim.




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              Eisar

              "Interested in opportunities in Display Ads? : go/dvaa-mobility"

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